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                        United States District Court
                                    Criminal Minutes - Jury Trial

Case No.          3:19cr32-001/MCR                                        Date:     December 2, 2019
DOCKET ENTRY: Jury Selection/Jury Trial.
Jury selected on 12/02/2019. Jury Trial held 12/02/2019 – 12/03/2019. Court denies Dft’s Oral Motion for
Judgment of Acquittal as to Count 3 and takes Counts 1 & 2 under advisement. Jury returns a verdict of NOT
GUILTY as to Count 1 and GUILTY as to Counts 2 and 3 (see verdict form). Dft shall remain on release
pending sentencing scheduled for February 18, 2020 at 9:00 am (see separate hearing notice). Order to follow
w/briefing deadlines as to venue re: Count 2. Attached: Witness and Exhibit Lists. Gvt & Dft Exhibits (2
folders) admitted and placed in Clerk’s storage. Gvt Exhibits #5,7,8,12, 14AL, 21A-I & 22A-H are placed
under seal. Gvt Exhibits #16, 17, 18 & 20 return to case agent.

         PRESENT :     HONORABLE                M. CASEY RODGERS              U.S. DISTRICT JUDGE

      Susan Simms              Donna Boland                  Gordon Hay             David Goldberg
      Deputy Clerk             Court Reporter                 Law Clerk             Asst U. S. Attorney


U.S.A v DEFENDANT LISTED BELOW                                ATTORNEY FOR DEFENDANT
(1)     Timothy J. Smith                                (1) William Bradford
✓      Present         Custody     ✓ O/R                ✓    Present         Appointed        ✓   Retained



✓      Jury Trial. Jury impaneled and sworn. Per privacy policy – Jurors Names Filed Under Seal

       Motion for new trial:                     granted                  denied
✓      Motion for Judgment of                    granted               ✓ Denied as to Count 3 and taken
       Acquittal                                                         under advisement as to Count 2
✓      Jury retires to deliberate at: 12/03/2019 @ 2:58 PM

✓      Jury returns at a verdict at: 12/03/2019 @ 5:22 PM

       FINDING BY COURT.            ✓     JURY VERDICT. SEE SIGNED VERDICT FORM
✓      Jury polled                               Polling waived           Mistrial declared
       Trial continued to:                       .
✓      Referred to Probation for I/R and sentencing hearing set for: February 18, 2020 @ 9:00 AM

✓      Ordered defendant:           be taken into custody          ✓       remain on present bond
SEE SEPARATE LIST FOR WITNESSES AND EXHIBITS (attached)


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 Monday, December 2, 2019        Attorney Conference/Jury Selection/Voir Dire Proceedings
[Note: Jury Selection Minutes sealed per the Court’s privacy policy - redacted version below.]

8:13 am  Court in Recess – Attorney Conference
         Court and counsel discuss witnesses and exhibits
         Court finds Motion in Limine MOOT and DENIES Motion to Continue trial (doc.
         #68); Court will allow Defendant’s expert witness to testify
8:22     Court and counsel discuss proposed jury instructions and venue
8:31     Gvt (Goldberg) notifies court that 3 defense witnesses may need counsel, if they testify
         Court reviews the voir dire/jury selection process
8:40     Court in Recess
9:34     Court in Session - 33 Panel Members Present
         Voir Dire Begins
10:57    Court in Recess
11:13    Court in Session – Panel Present
         Voir Dire Resumes
12:37 pm Jury Panel Excused
         Court questions panel member individually
12:42    Court in Recess
12:52    Court in Session – Attorney Conference
         Peremptory Challenges made by counsel and jury selected (12 jurors and 1 alternate)
12:59    Entire Panel Present
         JURY SELECTED - Court announces names of the 13 jurors selected
1:03     Court excuses selected jurors for lunch recess with instructions to return at 2:15 pm
1:07     Court thanks remaining panel members not selected and states their service is complete
1:08     Court in Recess (lunch - jury trial to begin at 2:15 pm)


 Monday, December 2, 2019        Jury Trial Begins

2:19 pm    Court in Session - Attorney Conference
           Rule of sequestration of witnesses invoked
2:22       Jury Present
           Jury Sworn by Clerk
           JURY TRIAL BEGINS
2:23       Court provides preliminary instructions to the jury
2:46       Government’s Opening Statement (Goldberg)
2:48       Defendant’s Opening Statement (Bradford)
3:02       Gvt witness Special Agent STEPHANIE CASSIDY sworn - Direct (Goldberg); 3:05
           Cross (Bradford); No Redirect
           Gvt Exhibit #1 admitted
3:07       Gvt witness TRISTAN HARPER sworn – Direct (Goldberg); 3:44 Cross (Bradford)

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          Gvt Exhibits # 2A-C, 3, 4, 5, 6 & 7 admitted
4:15      Court in Recess – Jury Excused
4:34      Court in Session – Jury Present
          Cross resumes of Tristan Harper; 4:44 Redirect
4:48      Gvt witness RALPH HAYNES sworn – Direct (Goldberg); 4:55 Cross (Bradford); 5:25
          Redirect; 5:28 Court inquiry and counsel follow-up
5:31      Jury Excused
5:33      Court notifies Defendant of his right to testify or not testify
          Proposed Jury Instructions provided to counsel
5:35      Court in Recess (evening)


 Tuesday, December 3, 2019     Jury Trial Continues

8:22 am  Court in Session – Attorney Conference
         Court and counsel review proposed jury instructions
8:40     Jury Present
8:42     Gvt witness TRAVIS ADAM GRIGGS sworn – Direct (Goldberg); 8:58 Cross
         (Bradford); 9:22 Redirect
         Gvt Exhibit #8 and Dft Exhibit #26 admitted
9:23     Gvt witness STEPHANIE CASSIDY re-sworn – Direct (Goldberg); 9:49 Cross
         (Bradford); 10:05 Redirect
         Gvt Exhibits #10, 11, 12, 13, 14A-L. 15A-I, 16, 17, 18 & 19 admitted
10:08    Jury Excused
         Court inquiry; Gvt (Goldberg) responds
10:11    Court in Recess
10:36    Court in Session – Jury Present
         Gvt witness ANDREW SMITH sworn – Direct (Goldberg); 10:42 Cross (Bradford): No
         Redirect
         Court designates witness as an expert in the field of Computer Forensics and Evidence
         Extraction
         Gvt Exhibit #20 admitted
10:43    Gvt witness STEPHANIE CASSIDY previously sworn - Direct (Goldberg); 10:58 Cross
         (Bradford); 11:10 Redirect; 11:13 Recross (both counsel)
11:16    GOVERNMENT RESTS
11:17    [Bench Conference – Dft’s oral motion for judgment of acquittal; Court takes under
         advisement.]
11:18    Dft witness Defendant TIMOTHY JEROME SMITH sworn – Direct (Bradford); 11:49
         Cross (Goldberg); 11:55 Redirect
         Dft Exhibits #27 & 24 admitted
12:00 pm Jury Excused (lunch)


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12:01   Dft (Bradford) argues oral motion for judgment of acquittal; 12:12 Gvt (Goldberg) argues
        response to motion
12:17   Court denies motion as to Count 3 and takes motion under advisement as to Counts 1
        and 2
12:18   Gvt (Goldberg) argues additional response as to Count 2
12:24   Court and counsel review proposed jury instructions and verdict form
12:38   Court in Recess (until 1:20 pm)
1:27    Court in Session – Attorney Conference
1:37    Jury Present
        DEFENDANT RESTS
        No Government Rebuttal
1:39    Court Publishes Instructions to the Jury
1:58    Government’s Closing Argument (Goldberg)
2:05    Defendant’s Closing Argument (Bradford)
2:42    Government’s Rebuttal Argument (Goldberg)
2:51    Court provides final instructions to the jury
        Counsel have no objections to instructions
2:58    Jury excused to begin deliberations
3:03    Court excuses Alternate Juror and thanks for their service
3:05    Court in Recess (awaiting the jury’s verdict)
5:19    Court in Session - Attorney Conference
        Court notifies counsel/parties that the jury has reached a verdict
5:22    Jury Present
        Clerk Publishes Verdict
        Jury finds Dft Timothy Smith NOT GUILTY as to Count 1 and GUILTY as to Counts
        2 & 3 (see verdict form)
        Court polls the jurors individually
        Court refers case to U.S. Probation to prepare a presentence investigation report
        Sentencing is scheduled for February 18, 2020 @ 9:00 am (hearing notice to follow)
5:27    Court thanks jurors and excuses from courtroom to await further instructions
        Judgment of Acquittal will be entered as to Count 1
5:28    Dft Smith shall remain on release pending sentencing
5:30    Court grants Gvt’s motion to seal Gvt Exhibits #5, 7, 8, 12, 14A-L, 21, A-I & 22 A-H
        Order to follow w/briefing deadlines as to venue re: Count 2
5:31    Court Adjourned




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